           Case 4:14-cr-02058-RCC-DTF Document 318 Filed 02/25/22 Page 1 of 3



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4    Attorney for Defendant
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6

7                      IN THE UNITED STATES DISTRICT COURT
8
                               FOR THE DISTRICT OF ARIZONA
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10
     UNITED STATES OF AMERICA,                Case No. CR14-02058-TUC-RCC [DTF]

11                Plaintiff,
12                                            UNOPPOSED MOTION FOR RETURN
     vs.                                      OF PASSPORT AND LIFTING OF
13
                                              RELATED RESTRICTIONS,
14
     ROBERT C. OSBORNE,                       AND PROPOSED ORDER
     DEBRA OSBORNE,
15

16                Defendants.
17
            The Defendants, Robert C. Osborne and Debra Osborne, by their counsel
18

19
     undersigned, and without opposition from government’s counsel, Jennifer M.

20   Rozzoni, requests an Order permitting the return of their passports and the lifting
21
     of all restrictions on obtaining travel-related documents, including passports.
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23   Briefly, the relevant procedural history is as follows:
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            On December 19, 2014, the district court set conditions of release for Robert
25
     Osborne and Debra Osborne. One of the conditions required them to surrender
26

27   their passports to Pretrial Services within ten days, which they did. (See District
28
          Case 4:14-cr-02058-RCC-DTF Document 318 Filed 02/25/22 Page 2 of 3



1    Court Document (“Doc.”) numbers 11, 13.) Subsequently on January 16, 2015, this
2
     Court ordered that neither Dr. or Mrs. Osborne would be permitted to apply for
3

4    issuance of a passport and/or passport card during the pendency of this action.
5
     (Docs. 19, 20.)
6

7
           The Ninth Circuit recently affirmed this Court’s Order granting Defendants’

8    Joint Motion to Suppress Evidence. See United States v. Osborne, 2022 WL
9
     264555 (1/28/22). The Mandate has issued without further action by the
10

11   Government. Based on conversations with Ms. Rozzoni, a Motion to Dismiss will
12
     be filed by the Government. In the meantime, Dr. and Mrs. Osborne are eager to
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14
     have their passports returned and restrictions lifted so that they may begin the

15   process of obtaining valid passports and/or other travel documents.
16
           A proposed Order is contemporaneously filed herewith.
17

18         Respectfully Submitted: February 25, 2022.
19
                                            /s/ Amy B. Krauss
20                                          Amy B. Krauss
21
                                            Attorney for Robert C. Osborne

22                                          /s/ Walter B. Nash
23                                          Walter B. Nash
                                            Attorney for Debra Osborne
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          Case 4:14-cr-02058-RCC-DTF Document 318 Filed 02/25/22 Page 3 of 3



1                             CERTIFICATE OF SERVICE
2
     Counsel certifies that on February 25, 2022, she caused to be electronically filed
3
     the foregoing document with the Clerk of the Court using the CM/ECF system
4    which sent notification to all registered participants.
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